       Case 22-02094-5-PWM                        Doc 30 Filed 09/21/22 Entered 09/22/22 00:30:49                                           Page 1 of 3
                                                               United States Bankruptcy Court
                                                              Eastern District of North Carolina
In re:                                                                                                                 Case No. 22-02094-PWM
Williams Land Clearing, Grading, and Tim                                                                               Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0417-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 19, 2022                                               Form ID: van010                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 21, 2022:
Recip ID                 Recipient Name and Address
db                     + Williams Land Clearing, Grading, and Timber Logger, 1600 Sweetwater Lane, Raleigh, NC 27610-9412

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: NCEBAdb_bnc@nceba.uscourts.gov
                                                                                        Sep 20 2022 00:25:00      Bankruptcy Administrator, Two Hannover Square,
                                                                                                                  Ste. 640, 434 Fayetteville Street, Raleigh, NC
                                                                                                                  27601-1701

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 21, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 19, 2022 at the address(es) listed
below:
Name                               Email Address
Brian Behr
                                   on behalf of Bankruptcy Administrator Bankruptcy Administrator brian_behr@nceba.uscourts.gov
                                   lynn_tingen@nceba.uscourts.gov;rick_hinson@nceba.uscourts.gov;lesley_dean@nceba.uscourts.gov;tanya_aycock@nceba.uscou
                                   rts.gov;karen_cook@nceba.uscourts.gov

Kathleen O'Malley
                                   on behalf of Debtor Williams Land Clearing Grading, and Timber Logger, LLC komalley@smvt.com,
                                   lpetruska@smvt.com;O'MalleyKR55537@notify.bestcase.com
      Case 22-02094-5-PWM              Doc 30 Filed 09/21/22 Entered 09/22/22 00:30:49                                 Page 2 of 3
District/off: 0417-5                                       User: admin                                                       Page 2 of 2
Date Rcvd: Sep 19, 2022                                    Form ID: van010                                                  Total Noticed: 2
Todd A. Jones
                          on behalf of Creditor Cardinal Civil Contracting LLC tjones@andersonandjones.com,
                          bnewbern@andersonandjones.com;eswyschtch@andersonandjones.com

William P Janvier
                          on behalf of Debtor Williams Land Clearing Grading, and Timber Logger, LLC wjanvier@smvt.com,
                          laura@janvierlaw.com;june@janvierlaw.com;kelly@janvierlaw.com;kelly@janvierlaw.com;R55537@notify.bestcase.com;darlen
                          e@janvierlaw.com;lpetruska@smvt.com


TOTAL: 4
   Case 22-02094-5-PWM                          Doc 30 Filed 09/21/22 Entered 09/22/22 00:30:49                 Page 3 of 3
VAN−010 Order to File Plan and Disclosure Statement and Notice of Status Conference − Rev. 01/06/2022

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                            Raleigh Division

IN RE:
Williams Land Clearing, Grading, and Timber Logger,CASE NO.: 22−02094−5−PWM
LLC
1600 Sweetwater Lane                               DATE FILED: September 16, 2022
Raleigh, NC 27610
                                                   CHAPTER: 11
TaxID: 81−1317609




                                ORDER TO FILE PLAN AND DISCLOSURE STATEMENT
                                     AND NOTICE OF STATUS CONFERENCE

The debtor(s) filed a petition for relief under Chapter 11 of the Bankruptcy Code on September 16, 2022 .
The court has reviewed the case file and has determined that to ensure that the case is handled
expeditiously and economically, the debtor(s) must file a plan and disclosure statement on or before
December 15, 2022 . The court will review the disclosure statement when it is filed and, if acceptable, the
disclosure statement will be conditionally approved. Additionally, the hearing on approval of the disclosure
statement will be combined with the hearing on confirmation of the plan. If the court determines that the
debtor's plan provides adequate information under 11 U.S.C. § 1125(a) and 1125(f)(1) and that a separate
disclosure statement is not necessary, the court may treat the plan as the disclosure statement for the
purpose of conditional approval pursuant to Bankruptcy Rule 3017.1. The debtor(s) may use Official Form
B25A, "Plan of Reorganization in Small Business Case Under Chapter 11," and Official Form B25B,
"Disclosure Statement in Small Business Case Under Chapter 11."

A status conference pursuant to 11 U.S.C. § 105(d)(1) will be held as indicated below:

DATE:           September 26, 2022
TIME:           10:00 AM
PLACE:          Room 208, 300 Fayetteville Street, Raleigh, NC 27601
Counsel for the debtor(s) in possession and the Bankruptcy Administrator will participate in the status
conference, and any objection to the procedures outlined in this order will be addressed at that time.

At the status conference, counsel for the debtor(s) must be prepared to (1) describe the nature of the
debtor(s) business, (2) describe the reasons for filing the petition, (3) describe the debtor(s) strategy for
reorganization, (4) give an estimate of the attorney's fees and other professional fees, (5) identify
anticipated significant events in the case, (6) discuss the need for future status conferences, and (7)
identify the court location or locations most convenient for parties and counsel for proceedings to be
conducted.
SO ORDERED.
Dated: Monday, September 19, 2022

                                                                              Pamela W McAfee
                                                                              United States Bankruptcy Judge
